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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


RICHARD MINSKY,

                            Plaintiff,
              v.                                         No. 1:08-CV-0819 (LEK/DRH)

LINDEN RESEARCH, INC., et al.,

                            Defendants.



           JUDGMENT DISMISSING ACTION BY REASON OF SETTLEMENT

       The Court has been advised by United States Magistrate Judge David R. Homer

that the parties in the above-captioned case have reported to him that the case has been

settled. Counsel has also advised Judge Homer that no infant or incompetent is a party to

this action. Accordingly, pursuant to N.D.N.Y.L.R. 68.2(a), it is hereby

       ORDERED that:

              1. The above-captioned case is hereby DISMISSED in its entirety without

prejudice to re-opening upon the motion of any party within forty-five (45) days of the date

of the filing of this order upon a showing that the settlement was not consummated;

              2. The dismissal of the above-captioned case shall become with prejudice

on the forty-sixth day after the date of the filing of this order unless any party moves to re-

open this case within forty-five (45) days of the date of the filing of this order upon a

showing that the settlement was not consummated;
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                3. The Clerk shall forthwith serve by electronic mail copies of this Judgment

upon the attorneys for the parties appearing in this action and upon plaintiff pro se by

regular mail.



IT IS SO ORDERED.


DATED: January 22, 2009
       Albany, New York
